Case 2:04-cv-02864-.]DB-dkv Document 13 Filed 07/18/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
United States of America,
Plaintiff,
vs. Civil No. 04~2864-B V

SiX Thousand Six Hundred Fifty Dollars
($6,650.00) in United States Currency,

Defendant.

JUD GMENT

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The Summons and Complaint in this action having been served on the defendant and all

known claimants; and the time for all said claimants to appear and defend herein having expired; and

said claimants having not appeared, answered, or otherwise defended; and the plaintiff having duly

filed its Request to Enter Default; and Default Was entered by the clerk on July 14, 2005; and the

plaintiff having filed an affidavit of the amount due the plaintiff in this action, it appears that the

plaintiff is entitled to have judgment against the defendant entered as prayed for in its Complaint.

Now, on motion of the United States Attorney, it is:

ADJUDGED and ORDERED that judgment is entered in favor of the United States of

America, and that the defendant, Six Thousand Six Hundred Fifty Dollars (56,650.00) in United

States Currency, be forfeited to the United States of Amen`ca, to be disposed of in accordance with

law.

THOMAS M. GCX.I.D

 

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United States District Court Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:04-CV-02864 was distributed by faX, mail, or direct printing on
July lS, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

